                                                                                         22CR444
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   FIL ED                JB                                 MAGISTRATE JUDGE COLE
     /2022
     9/7
                     N        UNITED STATES DISTRICT COURT
   THOMA.SDG . BRUTOC O U R T
           ISTRIC T           NORTHERN DISTRICT OF ILLINOIS
CLERK, U.S
                                    EASTERN DIVISION

   UNITED STATES OF AMERICA                 )      No.
                                            )
                 v.                         )      Violation: Title 18, United States Code,
                                            )      Section 1703(b)
   LUCAS FORTUNE                            )
                                            )      INFORMATION

           The UNITED STATES ATTORNEY charges:

           On or about March 3, 2021, at Hampshire, in the Northern District of Illinois,

   Eastern Division, and elsewhere,

                                     LUCAS FORTUNE,

    defendant herein, who was then a United States Postal Service employee, without

   authority, opened mail not directed to him, namely 30 pieces of United States First

   Class mail addressed to and from various individuals in the 60140 zip code delivery

   area;

           In violation of Title 18, United States Code, Section 1703(b).

                                                            Digitally signed by SARAH
                                       SARAH STREICKER STREICKER
                                                            Date: 2022.08.13 14:21:16 -05'00'
                                     ___________________________________________
                                     signed by Sarah Streicker on behalf of the
                                     UNITED STATES ATTORNEY
